Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 1 of 16



                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE SOUTHERN DISTRICT OF FLORIDA

  STEWART ABRAMSON, individually and on behalf of a
  Class of all persons and entities similarly situated,

                 Plaintiff,

  vs.                                                         Case No. 15-cv-61373

  1 GLOBAL CAPITAL LLC, d/b/a 1st
  GLOBAL CAPITAL, LLC d/b/a FIRST
  GLOBAL FUNDING, a Florida limited
  liability company, and
  LEAD RESEARCH GROUP, LLC

               Defendants.

                       FIRST AMENDED CLASS ACTION COMPLAINT

                                       Preliminary Statement

         1.      Plaintiff Stewart Abramson brings this action under the Telephone Consumer

  Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to widespread

  public outrage about the proliferation of intrusive, nuisance telemarketing practices. See Mims v.

  Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

         2.      Mr. Abramson alleges that Defendant 1 Global Capital LLC (“1st Global” or

  “Defendant”), through third parties it hired (including but not limited to co-defendant Lead

  Research Group, LLC) initiated prerecorded telemarketing calls to his residential telephone line

  and to the residential telephone lines of other putative class members without prior express

  written consent from Mr. Abramson or the other class members.

         3.      Because the call to Mr. Abramson was transmitted using technology capable of

  generating thousands of similar calls per day, Mr. Abramson brings this action on behalf of a

  proposed nationwide class of other persons who received illegal telephone calls from 1st Global.
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 2 of 16



          4.      A class action is the best means of obtaining redress for the Defendant’s illegal

  telemarketing, and is consistent both with the private right of action afforded by the TCPA and

  the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                                  Parties

          5.      Plaintiff Stewart Abramson resides in Pennsylvania.

          6.      Defendant 1 Global Capital LLC is a Florida limited liability company that has its

  principal office in this District in Hollywood, FL.

          7.      Lead Research Group, LLC is a limited liability corporation headquartered at

  3857 Birch Street, # 410, Newport Beach, CA 92660 (“Lead Research Group”).

                                         Jurisdiction & Venue

          8.      The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

  Plaintiff’s claims arise under federal law.

          9.      Venue is proper under 28 U.S.C. § 1391(b)(1) and (2) because the defendant 1st

  Global resides in this judicial district, and a substantial part of the events and omissions giving

  rise to the claim occurred in this District, including but not limited to entering into the contract

  for the placement of the solicitation robocalls that are at issue in this action.

          10.     Defendants are subject to personal jurisdiction in this District as 1st Global resides

  in the District and Lead Research Group purposefully directed its activities towards Florida by

  virtue of negotiating and performing its contract to place telemarketing calls on behalf of 1st

  Global, which is based in Florida.

                                          TCPA Background

          11.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing




                                                     2
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 3 of 16



  . . . can be an intrusive invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub.

  L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

         12.     Through the TCPA, Congress outlawed telemarketing via unsolicited automated

  or pre-recorded telephone calls (“robocalls”), finding:

         [R]esidential telephone subscribers consider automated or prerecorded telephone
         calls, regardless of the content or the initiator of the message, to be a nuisance and
         an invasion of privacy.

                                                     ....

          Banning such automated or prerecorded telephone calls to the home, except
          when the receiving party consents to receiving the call[,] . . . is the only effective
          means of protecting telephone consumers from this nuisance and privacy
          invasion.

  Id. § 2(10) and (12); see also Mims, 132 S. Ct. at 745.

         13.     The TCPA prohibits persons from initiating any telephone call to a residential

  telephone line using a prerecorded voice to deliver a message without the prior express consent

  of the called party, unless the call is initiated for emergency purposes or is exempted by rule or

  order of the FCC. 47 U.S.C. § 227(b)(1)(B); see also 47 C.F.R. § 64.1200(a)(2).

         14.     A telemarketer may use a pre-recorded message to call a residential telephone

  number; however, the telemarketer must have the call recipient’s prior express written consent.

         15.     Prior express written consent requires an agreement, in writing, bearing the

  signature of the person called that (a) clearly authorizes the caller to deliver or cause to be

  delivered to the person called advertisements or telemarketing messages using an artificial or

  prerecorded voice, and (b) lists the telephone number to which the signatory authorizes such

  advertisements or telemarketing messages to be delivered. See 47 C.F.R. § 64.1200(f)(8).




                                                    3
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 4 of 16



                                          Factual Allegations

         16.     1st Global attempts to provide businesses with capital investments and advertise

  that “we say ‘yes’ when banks say ‘no’”. See http://www.1stglobalcapital.com/about (Last

  visited on June 30, 2015).

         17.     1st Global uses telemarketing to obtain new clients.

         18.     1st Global engages in telemarketing, by hiring third parties to physically dial calls,

  nationwide in its efforts to obtain new clients.

         19.     On June 19, 2015, 1st Global initiated a prerecorded telemarketing call through its

  agent Lead Research Group offering the loan services of 1st Global to the Plaintiff on a

  residential telephone number, 412-361-XXXX. Lead Research Group, having physically placed

  a robocall to Plaintiff as well as members of the putative class, is also liable for the violation of

  the TCPA.

         20.     The Caller ID Number for the call was 253-245-2251.

         21.     The Plaintiff answered the call, and there was no one on the other end of the line.

         22.     Instead a pre-recorded voice came on the line stating that the Plaintiff’s business

  had been preapproved for a small business loan, and to press “1” for more information

         23.     There is no business at the number called by the Defendants and the Plaintiff has

  not applied for any business loan.

         24.     After the Plaintiff pressed “1” and spoke with a woman who asked if I was

  interested in a business loan. In order to find out who was responsible for the illegal prerecorded

  solicitation call to my residential line, Mr. Abramson identified himself and said that the name of

  his business was “Baskets to Go” (a fictitious business). She then merged the call to join a man

  who identified himself as “Will Pena” who stated that he was with 1st Global Capital.




                                                     4
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 5 of 16



          25.      Mr. Pena attempted to sell the Plaintiff the 1st Global’s loan services, and sent him

  an email with an attached application to apply for a loan as well as information about 1st Global.

          26.      1st Global did not have the Plaintiff’s prior express written consent to receive

  telemarketing calls.

          27.      In fact, to verify this, the Plaintiff sent 1st Global a written communication about

  the pre-recorded telemarketing call asking the 1st Global to provide any proof it had that he

  consented to the call.

          28.      1st Global did not provide any proof, or otherwise allege that they had consent to

  make the call.

                         1st Global’s Vicarious Liability for the Calls at Issue

          29.      Under the TCPA, a seller of a product or service may be vicariously liable for a

  third-party marketer’s violations of Section 227(b), even if the seller did not physically dial the

  illegal call, and even if the seller did not directly control the marketer who did. In re Joint Pet.

  filed by Dish Network, LLC, FCC 13-54 ¶ 37, 2013 WL 193449 (May 9, 2013) (“FCC Ruling”).

          30.      A seller is liable under Section 227(b) when it has authorized a telemarketer to

  market its goods or services. Id. ¶ 47.

          31.      The May 2013 FCC Ruling further held that, even in the absence of evidence of a

  formal contractual relationship between the seller and the telemarketer, a seller is liable for

  telemarketing calls if the telemarketer “has apparent (if not actual) authority” to make the calls.

  Id. ¶ 34.

          32.      Vicarious liability can also arise under the theory of “ratification” where the seller

  ratifies the illegal conduct of a third party by knowingly accepting the benefits of such conduct. See

  FCC Ruling at ¶¶28, 34, 46.




                                                      5
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 6 of 16



         33.     The United States Supreme Court has specifically provided for a rule of statutory

  construction in which congressional tort actions implicitly include the doctrine of vicarious

  liability. See Meyer v. Holley, 537 U.S. 280, 285-87 (2003) (“[W]hen Congress creates a tort

  action, it legislates against a legal background of ordinary tort-related vicarious liability rules and

  consequently intends its legislation to incorporate those rules.”).

         34.     In Meyer, the Supreme Court applied the doctrine of vicarious liability to the Fair

  Housing Act, despite Congress’s silence on the subject. Id. Under this rule, therefore, violators

  of the law like 1st Global cannot reap the benefits of their illegal behavior by delegating the

  actual conduct to third parties, and then assert that only the third parties may be held responsible

  for the misconduct.

         35.     In its initial disclosure Fed. R. Civ. P. 26.1 disclosure, 1st Global alleged that Lead

  Research Group of Newport Beach, California made the robocall to Plaintiff.

         36.     1st Global contracted with Lead Research Group to conduct a lead generation

  campaign, in which was paid for all leads transferred to 1st Global’s Call Center. The campaign

  was operated by Lead Research Group who physically placed the pre-recorded calls, with the

  knowledge and consent of the 1st Global.

         37.     Lead Research Group prequalified call recipients who pressed “1” in response to

  the pre-recorded message as loan candidates according to qualifications set by 1st Global. This

  interim control over Lead Research Group’s calling further supports a finding of vicarious

  liability. As the FCC held:

         [W]e see no reason that a seller should not be liable under [sections 227(b) and
         227(c) of the TCPA] for calls made by a third party telemarketer when it has
         authorized that telemarketer to market its goods or services. In that circumstance,
         the seller has the ability, through its authorization, to oversee the conduct of its
         telemarketers, even if that power to supervise is unexercised.




                                                    6
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 7 of 16



  FCC Ruling at ¶47.

          38.      The FCC’s view of the availability of vicarious liability under the TCPA has been

  supported by Court ruling from this District on the topic. See Shamblin v. Obama for America,

  et al. 2015 U.S. Dist. LEXIS 50989 **14-19 (citing allegations of failure to prevent illegal robo-

  calling, knowledge of robo-calling and specifically relying on the FCC Advisory cited by 1st

  Global in support of the legality of its calling as evidence supporting an imposition of vicarious

  liability under the TCPA).

          39.      Similarly, a District Court in West Virginia twice concluded that when a third-

  party telemarketer is allowed to hold itself out as an “authorized dealer” of a seller’s product,

  “that fact alone could lead a reasonable finder of fact to conclude that [the seller] cloaked the

  [third-party telemarketer] with the apparent authority to act on [its] behalf.” See Mey v.

  Monitronics Intern., Inc., 959 F.Supp.2d 927, 932 (N.D. W. Va. 2013) (Keeley, J.); In re

  Monitronics Intern., Inc., Telephone Consumer Protection Act Litigation, No. 13-2493, 2015 WL

  1964951, *8 (N. D. W. Va. April 30, 2015) (Keeley, J.).1 Courts in other circuits have reached

  the same conclusion. See, e.g., Lushe v. Verengo Inc., No. 13-7632, 2014 WL 5794627, *7 (C.D.

  Cal. Oct. 22, 2014) (jury could conclude that authorizing telemarketer to use Defendant’s name

  creates agency by apparent authority).

          40.      1st Global was given a login by Lead Research Group, which allowed 1st Global to

  listen to call recordings on the pre-qualification portion of Lead Research Group’s calls, a

  capability that 1st Global exercised.

  1
   Just before the FCC Ruling was issued, Judge Copenhaver reached a similar result in Mey v. Honeywell,
  a TCPA class action. See No. 12-1721, 2013 WL 1337295 (S.D. W. Va. Mar. 29, 2013). In that case,
  defendant Honeywell moved to dismiss, arguing that it could not be held responsible for unlawful calls
  made by third-parties. As in Mey v. Monitronics, Judge Copenhaver concluded that the existence of an
  “authorized dealer” relationship was sufficient to state a plausible claim for vicarious liability, and denied
  Honeywell’s motion. See id at *6.



                                                        7
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 8 of 16



          41.    In addition, Lead Research Group used its ability to listen to the recordings of 1st

  Global after transfer from Lead Research Group to 1st Global.

          42.    1st Global received complaints about calls placed by Lead Research Group,

  including multiple complaints in the first few days of the campaign, prior to the call to the

  Plaintiff.

          43.    1st Global was aware that Lead Research Group was conducting its telemarketing

  via prerecorded messages. On July 20, 2015, Marc Lalague sent Steve Kaye an email with the Re

  line: “LRG Response Re: Call Recording is done.” See DFT00072.

          44.    That 1st Global was both aware of and indifferent to the fact of Lead Research

  Group’s use of pre-recorded messages is evident from the fact that even after Stewart Abramson

  complained directly to 1st Global about having received a pre-recorded message promoting 1st

  Global’s loans, 1st Global nonetheless continued to communicate with Lead Research Group

  about continuing the telemarketing campaign. See DFT00095.

          45.    1st Global’s response to Mr. Abramson was not that it was unaware that

  prerecorded calls were being placed, but rather that it believed the TCPA was ambiguous as to

  prerecorded calls and provided an inapplicable FCC Advisory about Political Robocalls, which

  are treated entirely differently from commercial solicitations such as those placed by 1st Global

  through its agents, as Mr. Abramson pointed out in his reply email. See DFT00205-212.

          46.    Similarly, 1st Global contracted with Powers Marketing Group to conduct a

  telemarketing campaign, negotiating over “RAW voice broadcast calls for only $3 each.” See

  DFT00115.




                                                   8
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 9 of 16



          47.     As was the case with Lead Research Group, 1st Global controlled Powers

  Marketing Group, directing them on prequalification requirements for the campaigns. See

  DFT00103.

          48.     Under the facts pled herein, and through the development of additional facts

  through discovery, 1st Global is vicariously liable for the actions of Lead Research Group and

  Powers Marketing Group and other similarly situated agents placing calls on behalf of 1st Global

  in violation of the TCPA, 47 U.S.C. § 227(b)(1)(B).

       In the Alternative, 1st Global Should Be Held Directly Liable Under 47 U.S.C. §
  227(b)(1)(B), as it “Initiated” the Calls to Mr. Abramson and members of the putative class
                                        through its Agents.

          49.     The definition of the term “initiate” as it appears in the TCPA’s robocall prohibition

  found at 47 U.S.C. 227 § (b)(1)(B), is not limited to the individual or entity who physically dials the

  robocall. The definition of “initiate” is “to cause or facilitate the beginning of; set going.”

  Merriam-Webster Dictionary, www.merriam-webster.com).

          50.     Over the course of the twenty years following the TCPA’s enactment, the FCC

  repeatedly has made clear that the TCPA’s broad restrictions on various forms of telephone

  solicitations cannot be evaded simply by using third parties to physically transmit illegal calls.

  In this regard, the FCC has warned:

          We take this opportunity to reiterate that a company on whose behalf a telephone
          solicitation is made bears the responsibility for any violation of our telemarketing
          rules and calls placed by a third party on behalf of that company are treated as if
          the company itself placed the call.

  See In the Matter of Rules and Regulations Implementing the Telephone Consumer

  Protection Act of 1991, Request of State Farm Mutual Automobile Insurance Company

  for Clarification and Declaratory Ruling, CG Docket No. 02-278, 20 F.C.C.R. 13664 at

  ¶7 (August 17, 2005) (emphasis added). See also In the Matter of Rules and Regulations



                                                      9
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 10 of 16



  Implementing the Telephone Consumer Protection Act of 1991, Memorandum Opinion

  and Order, 10 F.C.C.R. 12391 at ¶13 (1995) (“our rules generally establish that the party

  on whose behalf a solicitation is made bears ultimate responsibility for any violations”)

         51.     Limiting “initiation” to entities that physically place robocalls was directly

  rejected by two decisions from the District of Illinois.

         52.     First, in United States v. Dish Network, LLC (“US v. Dish”), 667 F. Supp. 2d 952

  (C.D. Ill. 2009), certification of interlocutory appeal denied, No. 09-3073, 2010 WL 376774,

  2010 U.S. Dist. LEXIS 8957 (C.D. Ill. Feb. 4, 2010), the Federal Trade Commission initiated

  litigation against DISH for telemarketing via robocall and to consumers whose numbers were

  listed on the Do Not Call Registry. Like 1st Global here, DISH argued that the calls were made

  by “independent contractors” that it did not control. The Court rejected this argument

  recognizing that no formal agency relationship was necessary to impose TCPA liability on Dish

  and that liability would extend to Dish if its representatives “acted as Dish Network’s

  representatives, or for the benefit of Dish Network.” 667 F. Supp.2d at 963.

         53.     Second, Judge Bucklo rejected an identical argument made by a defendant

  claiming it was not responsible for robocalls sent to consumers by third parties. See Desai v.

  ADT Sec. Servs., Inc., 2011 WL 2837435 at *1 (N.D. Ill. July 18, 2011) (“The term ‘initiate’ is

  broad enough to include cases where . . . a party has encouraged or otherwise prompted its

  authorized dealers to make calls on its behalf.”).

         54.     Indeed, many courts have recognized that the TCPA is a strict liability statute.

  See CE Design, Ltd. v. Prism Bus. Media, Inc., 2009 WL 2496568 at *3 (N.D.Ill. Aug. 12, 2009)

  (TCPA is a strict liability statute); Park University Enterprises, Inc. v. American Cas. Co. of

  Reading, PA, 314 F. Supp. 2d 1094, 1103 (D. Kan. 2004), aff’d 442 F.2d 1239 (10th Cir. 2006)




                                                   10
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 11 of 16



  (TCPA is essentially a strict liability statute); Penzer Transp. Ins. Co., 545 F.3d 1303, 1311 (11th

  Cir. 2008); Park Univ. Enters. Inc. v. Am. Cas. Co. of Reading Pa., 314 F.Supp.2d 1094, 1103

  (D.Kan. 2004); Accounting Outsourcing, LLC, v. Verizon Wireless Personal Communications,

  L.P., 329 F. Supp. 2d 789, 818 (M.D. La. 2004) (“the TCPA ... impose[s] strict liability for [its]

  civil damages provisions”)

            55.   Any cramped reading of the term “initiate” would also fail to effectuate the TCPA’s

  intent to protect consumers from intrusive and abusive telemarketing practices and should be

  rejected. Under a definition of “initiate” limited to physically dialing the illegal robocalls, 1st

  Global could order, authorize, design, implement, ratify and profit greatly from an illegal

  telemarketing campaign, and avoid all TCPA liability merely by hiring a third party to dial the

  illegal call.

            56.   Because the TCPA is a remedial statute, reading “initiate” as requiring that the call

  be physically dialed by the entity that benefits from the call is contrary to the rule of statutory

  construction that a remedial statute must be construed to benefit consumers. See, e.g., Gager v.

  Dell Fin. Servs., LLC, 727 F.3d 265, 271 (3d Cir. 2013).

            57.   As is set forth above, 1st Global hired its agents to conduct telemarketing campaigns.

  By authorizing its agents to tele-market on its behalf, using 1st Global’s tradename, and by

  compensating the agents for leads generated by illegal telemarketing, 1st Global facilitated the

  beginning or and/or set into motion the illegal robocall telemarketing campaign at issue.

                                         Class Action Allegations

            58.   As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

  this action on behalf of all other persons or entities similarly situated throughout the United

  States.




                                                     11
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 12 of 16



         59.     The class of persons Plaintiff proposes to represent include:

         All persons within the United States whom Defendant, directly or through their
         agents, initiated a telephone call with a pre-recorded message to a residential line
         within four years before this Complaint was filed through the date of class
         certification

         60.     Excluded from the class are Defendants, any entities in which Defendants have a

  controlling interest, the Defendants’ agents and employees, any Judge to whom this action is

  assigned, and any member of the Judge’s staff and immediate family.

         61.     The proposed class members are identifiable through phone records and phone

  number databases.

         62.     The potential class members number in the thousands, at least. Individual joinder

  of these persons is impracticable.

         63.     Plaintiff is a member of the class, including both subclasses.

         64.     There are questions of law and fact common to Plaintiff and to the proposed class,

  including but not limited to the following:

                 a.    Whether the Defendants used a pre-recorded message to send telemarketing

                       calls;

                 b.    Whether the Defendants placed telemarketing calls without obtaining the

                       recipients’ valid prior express written consent;

                 c.    Whether the Defendants’ violations of the TCPA were negligent, willful, or

                       knowing; and

                 d.    Whether the Plaintiff and the class members are entitled to statutory

                       damages as a result of the Defendants’ actions.

         65.     Plaintiff’s claims are based on the same facts and legal theories, and therefore are

  typical of the claims of class members.



                                                  12
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 13 of 16



            66.      Plaintiff is an adequate representative of the class because his interests do not

  conflict with the interests of the class, he will fairly and adequately protect the interests of the

  class, and he is represented by counsel skilled and experienced in class actions, including TCPA

  class actions.

            67.      The actions of Defendants are generally applicable to the class as a whole and to

  Plaintiff.

            68.      Common questions of law and fact predominate over questions affecting only

  individual class members, and a class action is the superior method for fair and efficient

  adjudication of the controversy. The only individual question concerns identification of class

  members, which will be ascertainable from records maintained by Defendants and/or their

  agents.

            69.      The likelihood that individual class members will prosecute separate actions is

  remote due to the time and expense necessary to prosecute an individual case, and given the

  small recoveries available through individual actions.

            70.      Plaintiff is not aware of any litigation concerning this controversy already

  commenced by others who meet the criteria for class membership described above.


                                                Legal Claims

                                             Count One:
                  Violation of the TCPA, 47 U.S.C. § 227(b) and 47 C.F.R. § 64.1200(a)

            71.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

  forth herein.




                                                       13
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 14 of 16



         72.      The Defendants violated the TCPA by (a) initiating a telephone call using a

  prerecorded voice to Plaintiff’s telephone number, or (b) by the fact that others caused the

  initiation of those calls on its behalf. See 47 C.F.R. 64.1200(a)(1)(iii); 47 U.S.C. § 227(b)(1).

         73.      The Defendants’ violations were negligent and/or willful and knowing.

                                             Count Two:
                                           Injunctive Relief

         74.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

  forth herein.

         75.      The TCPA authorizes injunctive relief to prevent further violations of the TCPA.

         76.      The Plaintiff respectfully petitions this Court to order the Defendants, and their

  employees, agents and independent contractors, to immediately cease engaging in unsolicited

  telemarketing in violation of the TCPA.

                                             Relief Sought

         For himself and all class members, Plaintiff requests the following relief:

         1.       That Defendants be restrained from engaging in future telemarketing in violation

  of the TCPA.

         2.       That Defendants, their agents, and anyone acting on its behalf, be immediately

  restrained from altering, deleting, or destroying any documents or records that could be used to

  identify class members.

         3.       That the Court certify the proposed class under Rule 23 of the Federal Rules of

  Civil Procedure.

         4.       That the Plaintiff and all class members be awarded statutory damages of $500 for

  each negligent violation of the TCPA, and $1,500 for each knowing violation.




                                                    14
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 15 of 16



         5.     That the Plaintiff and all class members be granted other relief as is just and

  equitable under the circumstances.

         Plaintiff requests a jury trial as to all claims of the complaint so triable.


  Plaintiff Stewart Abramson,
  By his Counsel,

  /s/ Scott D. Owens
  Scott D. Owens
  SCOTT D. OWENS, P.A.
  3800 S. Ocean Dr., Ste. 235
  Hollywood, FL 33019
  Tel: 954-589-0588
  scott@scottdowens.com

  Anthony Paronich
  Broderick Law, P.C.
  99 High St., Suite 304
  Boston, MA 02110
  (508) 221-1510
  anthony@broderick-law.com
  Admitted Pro Hac Vice

  Date: October 2, 2015




                                                 15
Case 0:15-cv-61373-BB Document 28 Entered on FLSD Docket 10/02/2015 Page 16 of 16



                            CERTIFICATE OF ECF SERVICE

         I HEREBY CERTIFY that on October 2, 2015, I filed the foregoing document via the
  Court’s ECF System which will effectuate service upon all counsel of record.


                                           /s/ Scott D. Owens
                                           Scott D. Owens




                                             16
